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01 2019
IN THE UNITED STATES DISTRICT COURT A ,
EASTERN DISTRICT OF ARKANSAS JAMES ¥f coon CLERK
By: LOM Nat DEP CLERK
UNITED STATES OF AMERICA )
)
v. ) No. 4:19CR00572 KGB
)
JACLYN BROOKS HARRIS ) UNDER SEAL
MOTION TO REVOKE BOND

 

The United States by and through Cody Hiland, United States Attorney for the Eastern
District of Arkansas, and Benecia B. Moore, Assistant United States Attorney for said district,
for its motion to revoke bond, states:

1. On October 2, 2019, the defendant, Jaclyn Brooks Harris, was indicted on one
count of conspiracy to possess a mixture and substance containing fentanyl with intent to
distribute.

2. Ms. Harris was arrested by FBI on October 23, 2019.

3, On November 1, 2019, the defendant was placed under pretrial release
supervision. Ms. Harris was ordered to report to residential treatment at Recovery Centers of
Arkansas (RCA) on November 1, 2019, by 2pm.

4, While Ms. Harris was being transported from jail to RCA by her parents, she got
out of her parents’ vehicle and refused to get back in. Ms. Harris failed to report to RCA as
ordered.

5. Ms. Harris’ whereabouts are currently unknown.

WHEREFORE, the United States requests that a warrant be issued for the defendant and

that she appear before the Court and show cause why her bond should not be revoked.
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Respectfully submitted,

CODY HILAND
_UNITED STATES ATTORNEY

    
      

 
  
 

   
 

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